IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

IN RE CROP PROTECTION
PRODUCTS LOYALTY PROGRAM
ANTITRUST LITIGATION 1:23-md-3062-TDS-JEP

This document relates to: ALL ACTIONS

ORDER

This matter is before the Court on Plaintiffs’ Motion for Protective Order [Doc. #68].
In the Motion, Plaintiffs seek entry of a protective order for the purpose of providing interim
class counsel and liaison counsel access to the untredacted complaints in the Government
Action, Federal Trade Commission v. Syngenta Crop Protection AG, 1:22CV828. However,
Defendants oppose the request, noting that the Court has already denied Plaintiffs’ request
for pte-complaint discovery. As noted by Defendants, in the Case Management Order, the
Court declined Plaintiffs’ request to set an early deadline for submission of ptoposed
ptotective orders. In addition, in the Scheduling Order, the Court denied Plaintiffs’ request
for information from Defendants relating to the Government Action, including information
relating to the FTC investigation that led to that action. Defendants note that Plaintiffs’
ptesent request seeks an end-run around these rulings, and would raise many of the same
issues that led the Court to conclude that such early discovery regarding the Government
Action was unwarranted. Further, the proposed protective order purportedly applies to both
actions, but the cases are separate, and entry of a global protective order that purports to cover

both cases but without agreement of all parties creates confusion and inappropriate blurring

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of the separate actions. Finally, Defendants note that Plaintiffs must make good faith
assertions in the complaint based on theit own knowledge and information, and it is not
necessaty at this stage to obtain allegations from another case. Having considered the briefing,
the Court finds that the concerns raised by Defendants ate well taken. In addition, to the
extent Plaintiffs may be objecting to the pending Motions to Seal in the Government Action,
those Motions to Seal are pending with the Coutt, and the various interests can be considered
and addressed in ruling on the Motions to Seal. If the Motions to Seal ate denied in whole or
part, Plaintiffs can seek leave to further amend the operative complaint in the present case if
appropriate, as they could with any new or additional information that becomes available that
would affect the allegations or claims asserted.

IT IS THEREFORE ORDERED that the Motion for Protective Order [Doc. #68] is
DENIED at this time.

This, the 15 day of August, 2023.

/s/ Joi Elizabeth Peake

United States Magistrate Judge

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